                Case 2:19-bk-14989-WB              Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                             Desc
                                                    Main Document    Page 1 of 41


                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Richard W. Esterkin, SBN 70769
                     2   richard.esterkin@morganlewis.com
                         300 S Grand Ave Fl 22
                     3   Los Angeles CA 90071-3132
                         Tel: (213) 612-2500
                     4   Fax: (213) 612-2501

                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                UNITED STATES BANKRUPTCY COURT
                     9                                 CENTRAL DISTRICT OF CALIFORNIA
                    10                                           LOS ANGELES DIVISION
                    11

                    12   In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                     (Jointly Administered with
                    13            SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB)
                    14                                                               Chapter 11
                                         Debtors and Debtors in
                    15                   Possession.             AMAZON LOGISTICS, INC.’S MOTION
                                                                 FOR A PROTECTIVE ORDER
                    16   _______________________________________ QUASHING DOCUMENT REQUESTS
                                                                 AND DEPOSITION NOTICES
                    17   Affects:                                PROPOUNDED BY HILLAIR CAPITAL
                         ■ All Debtors                           MANAGEMENT, LLC; AND
                    18   □ Scoobeez, ONLY                        DECLARATION OF RICHARD W.
                         □ Scoobeez Global, Inc., ONLY           ESTERKIN IN SUPPORT THEREOF
                    19   □ Scoobur LLC, ONLY
                                                                 Date:    TBA
                    20                                           Time:    TBA
                                                                 Dept.:   United States Bankruptcy Court
                    21                                                    Edward Roybal Federal Building
                                                                          255 E Temple St., Ctrm 1375
                    22                                                    Los Angeles CA 90012
                    23                                                               Judge: The Hon. Julia W. Brand
                    24

                    25

                    26

                    27   1
                             The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                             Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28       Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &                                                                  -1-             AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                     ORDER QUASHING DISCOVERY
   COSTA MESA                                                                                    REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB          Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42             Desc
                                                Main Document    Page 2 of 41


                     1                                             MOTION

                     2          Amazon Logistics, Inc. (“Amazon”), hereby moves the Court for the entry of a protective

                     3   order: (a) relieving Amazon from responding to any of Hillair’s document requests propounded

                     4   on October 29, 2019; and (b) quashing the notices of deposition of Amazon pursuant to Rule

                     5   30(b)(6), James Wilson, Micah McCabe, and Vanessa Delaney.

                     6   Dated: October 31, 2019                         MORGAN, LEWIS & BOCKIUS LLP
                     7

                     8                                                   By:    /s/ Richard W. Esterkin
                                                                                    Richard W. Esterkin
                     9                                                    Attorneys for Amazon Logistics, Inc.
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MORGAN, LEWIS &                                                       -2-          AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                       ORDER QUASHING DISCOVERY
   COSTA MESA                                                                      REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB             Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                           Desc
                                                   Main Document    Page 3 of 41


                     1                         MEMORANDUM OF POINTS AND AUTHORITIES

                     2          Amazon Logistics, Inc. (“Amazon”) respectfully submits the following Memorandum of

                     3   Points and Authorities in support of the instant motion:

                     4                                                      I.
                                                                      INTRODUCTION
                     5

                     6          Amazon’s motion for relief from the automatic stay requires examination of one

                     7   document: Amazon’s contract with Scoobeez (“the Agreement”). 2 There is no dispute regarding

                     8   the authentication of that contract – Hillair Capital Management, LLC (“Hillair”) has filed a

                     9   declaration under penalty of perjury in the Debtor’s associated adversary proceeding
                    10   authenticating that contract.3 Notwithstanding, Hillair has served Amazon with numerous

                    11   discovery requests purportedly related to that motion: (1) 20 document requests requiring the

                    12   collection, review, and production of almost 5 years’ worth of electronically stored information

                    13   by November 1; (2) a notice of a deposition for a Rule 30(b)(6) corporate representative of

                    14   Amazon on 13 topics of examination; and (3) notices of deposition of three individual witnesses

                    15   on November 1 and November 4.4

                    16          The requested discovery is irrelevant to the issues raised by the present motion, is being

                    17   sought to evade the limits on discovery imposed with reference to the Debtor’s adversary

                    18   proceeding, and was clearly filed to harass and oppress Amazon. On October 30, 2019, counsel

                    19   for Amazon and Hillair met and conferred regarding Hillair’s discovery requests and were unable
                    20   to reach an agreement. Consequently, Amazon respectfully requests that this Court enter a

                    21   protective order excusing Amazon from complying with Hillair’s discovery requests.

                    22

                    23

                    24   2
                             The Agreement consists of two documents, the Delivery Provider Terms of Service – Work Order (the “Work
                             Order”) and the Delivery Provider Terms of Service (the “Terms”). Copies of the Work Order and Terms,
                    25       including the 18 amendments to the Work Order were attached to Amazon’s motion.
                         3
                             Declaration of Sean M. McAvoy in Support of Hillair Capital Management, LLC’s Expedited Motion to
                    26       Intervene as a Co-Plaintiff in Adversary Proceeding for the Limited Purpose of Enforcing the Automatic Stay
                             (Dkt. No. 7 in Adversary Proceeding No. 2:19-ap-01456WB) at ¶ 8, Ex. 1.
                    27
                         4
                             Copies of Hillair’s discovery requests are attached to the Declaration of Richard W. Esterkin appended hereto
                    28       as Exhibits 1 through 5.
MORGAN, LEWIS &                                                                -3-             AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   ORDER QUASHING DISCOVERY
   COSTA MESA                                                                                  REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                   Desc
                                                 Main Document    Page 4 of 41


                     1                                            II.
                                               HILLAIR IS NOT ENTITLED TO IRRELEVANT,
                     2                         OVERBROAD, AND HARASSING DISCOVERY.

                     3          Amazon moved for relief from the automatic stay based solely on the terms of the

                     4   Agreement - and that is the only document relevant to this motion. Amazon’s motion for relief

                     5   from the automatic stay simply relies on the plain language of the Agreement. See Dkt. No. 393.

                     6   There is no dispute about the Agreement or its terms. The Court must simply decide whether to

                     7   grant Amazon its requested relief from the automatic stay so as to permit Amazon to exercise the

                     8   rights granted to it under the Agreement. See Dkt. No. 393, pp. 5-8. If, as, and when Amazon

                     9   attempts to exercise those rights, and if the Debtor believes that Amazon does not have the right

                    10   to engage in whatever actions Amazon may take, the Debtor may or may not wish to contend that

                    11   Amazon acted in excess of the rights granted to it under the Agreement. Those issues are not

                    12   properly litigated in the context of a motion for relief from stay.

                    13                  Stay litigation is limited to issues of the lack of adequate protection,
                                        the debtor's equity in the property, and the necessity of the property
                    14                  to an effective reorganization. Hearings on relief from the automatic
                                        stay are thus handled in a summary fashion. [Cite omitted]. The
                    15                  validity of the claim or contract underlying the claim is not litigated
                                        during the hearing.
                    16

                    17   Johnson v. Righetti (In re Johnson), 756 F.2d 738, 740 (9th Cir. 1985). See also, In re Jin Qing

                    18   Li, No. 3:12-BK-33630, 2018 WL 1354548, at *4 (Bankr. 9th Cir. Mar. 12, 2018) (“Motions for

                    19   relief from stay may not be used to determine the scope and enforceability of a creditor's interest

                    20   in property of the estate; such issues typically require the commencement of an adversary

                    21   proceeding.”); In re Miller, No. BR 10-25453-MER, 2012 WL 2953111, at *7 (Bankr. D. Colo.

                    22   July 19, 2012), aff'd sub nom. In re Miller, 577 F. Appx. 849 (10th Cir. 2014) (“The elements of §

                    23   362 define the scope of discovery in connection with relief from stay. Any information sought

                    24   through discovery having no bearing on a party's claim or defense under § 362 is irrelevant to any

                    25   determination on the pending Motion for Relief from Automatic Stay, and is outside the permitted

                    26   scope of discovery.”). Notwithstanding, Hillair served document requests that have nothing to do

                    27   with the issues properly before this Court in conjunction with the present motion and seeks to

                    28
MORGAN, LEWIS &                                                           -4-           AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                            ORDER QUASHING DISCOVERY
   COSTA MESA                                                                           REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB              Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                              Desc
                                                    Main Document    Page 5 of 41


                     1   take four depositions, when there are no disputed facts relevant to the motion.5

                     2          On October 29, 2019, Hillair demanded that Amazon produce the following documents by

                     3   November 1, 2019:6

                     4                  All documents and communications concerning the Agreement. RFP No. 1.

                     5                  All documents and communications concerning Scoobeez. RFP No. 2.

                     6                  All documents related to Amazon’s decision to object to assignment of the

                     7                   Agreement to Hillair. RFP No. 4.

                     8                  All documents concerning the services Scoobeez provided to Amazon, or the

                     9                   reduction or termination thereof. RFPs Nos. 3, 5, 8, 19, 20.
                    10                  All documents or communications related to incentives Amazon has even

                    11                   considered extending to Scoobeez employees for continuing their services. RFP

                    12                   No. 7.

                    13                  Any documents related to complaints about Scoobeez or its employees. RFP No.

                    14                   10.

                    15                  Any documents or communication between any agent of Amazon and any

                    16                   Scoobeez employee in 2019. RFP No. 9.

                    17                  Any documents or communication between any agent of Amazon and any DSP

                    18                   related to hiring Scoobeez employees. RFP No. 10.

                    19                  All documents and communications concerning the claims filed by Amazon in this
                    20                   bankruptcy case. RFP No. 11.

                    21                  All documents or communications concerning or with the former principals of

                    22                   Scoobeez: Shahan Ohanessian, Suzy Ohanessian, David Ojeda, or Penelope

                    23                   Register Shaw. RFPs Nos. 12-18.

                    24   5
                             Of course, the breadth of Hillair’s document requests presages the fishing expedition that will occur if this
                             Court permits the requested depositions to proceed.
                    25
                         6
                             The demand that documents be produced on three days’ notice violates Federal Rule of Civil Procedure
                    26       34(b)(2)(A), which provides that a party responding to requests for production must do so within 30 days of
                             being served with the requests. Rule 34 is made applicable to these proceedings by the provisions of Federal
                    27       Rules of Bankruptcy Procedure 9014 and 7034. Due to a numbering error, the RFPs include duplicate numbers
                             8, 9, and 10, while they skip numbers 15-17. For ease of reference, the RFPs are referred to herein as they are
                    28       numbered.
MORGAN, LEWIS &                                                                  -5-             AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                     ORDER QUASHING DISCOVERY
   COSTA MESA                                                                                    REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB             Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                 Desc
                                                   Main Document    Page 6 of 41


                     1                  All documents “concerning the identity of all DSPs” or financial projections for

                     2                   increased delivery requirements in Los Angeles, Dallas, Houston, San Antonio,

                     3                   and Chicago. RFPs Nos. 6, 8.

                     4                  All documents related to Amazon’s policies and procedures relating to DSPs. RFP

                     5                   No. 9.

                     6   That same day, Hillair noticed the depositions of three individuals (one on November 1, 2019 and

                     7   the other three on November 4, 2019) and a Rule 30(b)(6) deposition of Amazon on November 4,

                     8   2019 with respect to the following topics:

                     9          1.       The Amazon Agreement with Scoobeez, including any decision to terminate the
                    10   Amazon Agreement and the terms of the proposed separation agreement as reflected in the

                    11   October 16, 2019 e-mail from Richard Esterkin, counsel to Amazon to the Debtors.

                    12          2.       The identities, titles roles, contributions and responsibilities of all Persons who

                    13   have served or are serving as an officer, director, manager, or employee with responsibilities

                    14   and/or oversight concerning Scoobeez or the Routes provided to Scoobeez on a weekly basis.

                    15          3.       Amazon’s policies and procedures concerning DSPs, including but not limited to

                    16   those policies and procedures with respect to the termination of DSPs.

                    17          4.       The daily total Routes for each distribution center that Scoobeez services for all

                    18   DSPs that service that distribution center; and (b) the percentage of those Routes provided to

                    19   Scoobeez.
                    20          5.       The identity of all DSPs utilized by Amazon in the regions serviced by Scoobeez

                    21   for Amazon.

                    22          6.       Any offer or promise, whether express or implied, and whether in writing or oral,

                    23   concerning any incentives and have been, will be, or may be offered by Amazon to any current or

                    24   former Scoobeez Employee related to the Scoobeez Employee’s/Employees’ continued or future

                    25   services on behalf of Amazon.

                    26          7.       Statements made by Amazon as set forth in the May 13, 2019 articles entitled

                    27   “Amazon Helps Employees Launch Small Businesses” published by ecommercebytes.com, and

                    28   “Amazon Will Pay Workers to Quit and Start Their Own Delivery Businesses” published by the
MORGAN, LEWIS &                                                      -6-        AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                             ORDER QUASHING DISCOVERY
   COSTA MESA                                                                            REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                Desc
                                                 Main Document    Page 7 of 41


                     1   New York Times.

                     2          8.      All “other factors” on which Amazon purportedly replied in deciding to sever its

                     3   relationship with Scoobeez, as referenced on page 7 of its Opposition to Application for

                     4   Temporary Restraining Order filed in adversary proceeding no. 19-ap-01456 on October 28, 2019

                     5   [Adv. ECF No. 10].

                     6          9.      All internal Communications by and between Amazon officers, employees, or

                     7   agents, including Communications with any third party, concerning any reduction of Scoobeez’

                     8   Routes or volume of deliveries between September 1, 2019 and present.

                     9          10.     Any complaints or grievances, whether orally or in writing, concerning Scoobeez’s
                    10   performance in making deliveries for Amazon, including but not limited to complaints about

                    11   individual Scoobeez Employees and any claims by Amazon that Scoobeez had failed to perform

                    12   under the Amazon Agreement.

                    13          11.     Any financial projections concerning increased delivery abilities or needs that

                    14   Amazon believes it will require in the regions of Los Angeles, Dallas, Houston, San Antonio, and

                    15   Chicago, in order to keep up with any anticipated increase in consumer sales in those regions.

                    16          12.     Any communications that any agent, employee, attorney, or other representative of

                    17   Amazon has had with any DSP concerning potential absorption, acquisition, or hiring of any

                    18   current or former Scoobeez employee, including the individuals involved with such

                    19   communications and the date and substance of such communications.
                    20          13.     The proof of claims filed by Amazon and Amazon.com in the above-captioned

                    21   bankruptcy case bearing claim nos. 23-1, 31-1, 32-1, 36-1-2, 37-1, 38-1, and 39-1-2 on the

                    22   official claims register maintained by the Bankruptcy Court, including the lawsuits involving

                    23   Amazon and Scoobeez that support the factual bases for those claims

                    24          Hillair’s document requests, Rule 30(b)(6) deposition notice, and other notices of

                    25   deposition have nothing to do with Amazon’s motion for relief from the automatic stay and

                    26   everything to do with Hillair’s desire to obtain discovery in the Debtor’s pending adversary

                    27   proceeding, to which it is not a party, in contravention of the limitation on that discovery imposed

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MORGAN, LEWIS &                                                          -7-          AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                          ORDER QUASHING DISCOVERY
   COSTA MESA                                                                         REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB             Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                           Desc
                                                   Main Document    Page 8 of 41


                     1   by the Federal Rules of Bankruptcy Procedure.7 That attempt is improper. In re Miller, No. BR

                     2   10-25453-MER, 2012 WL 2953111, at *23 (Bankr. D. Colo. July 19, 2012), aff'd sub nom. In re

                     3   Miller, 577 F. Appx. 849 (10th Cir. 2014) (“In the future, any attempt to combine the pending

                     4   Adversary Proceeding issues with the relief from stay issues—whether through pleadings,

                     5   arguments at hearing or otherwise—shall be interpreted as abusive conduct subject to appropriate

                     6   sanctions.”).

                     7          Apart from the fact that the requested discovery has no relevance to the contested matter

                     8   in which it was noticed, Federal Rule of Civil Procedure 30(a)(2)(A)(ii) prohibits multiple

                     9   depositions of a single witness.8 By seeking to conduct depositions in conjunction with
                    10   Amazon’s motion that really relate to the Debtor’s adversary proceeding, Hillair seeks to

                    11   accomplish an end run around this Rule.

                    12          Hillair’s discovery requests are improper because they do not seek information that is

                    13   relevant to the issues raised by Amazon’s motion for relief from stay and are a thinly veiled

                    14   attempt to avoid the discovery limitations applicable to the Debtor’s adversary proceeding. As a

                    15   result, a protective order should be issued excusing Amazon from producing the documents

                    16   requested by Hillair, and excusing Amazon and the other proposed deponents appearing at the

                    17   deposition noticed by Hillair.

                    18   Dated: October 31, 2019                                   MORGAN, LEWIS & BOCKIUS LLP
                    19
                    20                                                             By:   /s/ Richard W. Esterkin
                                                                                             Richard W. Esterkin
                    21                                                             Attorneys for Amazon Logistics, Inc.
                    22

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                    26   7
                             Presently, Hillair’s motion to intervene in that proceeding is scheduled to be heard by the Court on November
                             18, 2019.
                    27
                         8
                             Federal Rule of Civil Procedure 30 is made applicable to this proceeding by Federal Rules of Bankruptcy
                    28       Procedure 9014 and 7030.
MORGAN, LEWIS &                                                                -8-             AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   ORDER QUASHING DISCOVERY
   COSTA MESA                                                                                  REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB            Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                 Desc
                                                  Main Document    Page 9 of 41


                     1                           DECLARATION OF RICHARD W. ESTERKIN

                     2          I, Richard W. Esterkin, declare:

                     3          1.       I am an attorney at law, duly admitted into practice before all courts for the State

                     4   of California and the United States District Court for the Central District of California. I am a

                     5   member of the law firm of Morgan, Lewis & Bockius, LLP, counsel for Amazon Logistics, Inc.

                     6   (“Amazon Logistics”), in the above referenced matter.

                     7          2.       On October 29, 2019, I received an e-mail from Jennifer Nassiri, an attorney with

                     8   the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Hillair Capital

                     9   Management, LLC (“Hillair”) forwarding copies of the following discovery requests:
                    10                   (a)    Demand for the production of documents on November 1, 2019

                    11                   (b)    Deposition of Vanessa Delany on November 1, 2019

                    12                   (c)    Deposition of James Wilson on November 4, 2019

                    13                   (d)    Deposition of Micah McCabe on November 4, 2019

                    14                   (e)    Deposition of Amazon Logistics, Inc. on November 4, 2019.

                    15   Copies of the foregoing discovery requests are attached hereto as Exhibits 1 through 5,

                    16   respectively.

                    17          3.       The parties have not conducted a Rule 26(f) conference in connection with

                    18   Amazon Logistics’ pending motion for relief from stay or Scobeez’s pending adversary

                    19   proceeding against Amazon Logistics, Adv. No. 2:10-ap-01456-WB.
                    20          4.       On October 29, 2019, at 3:51 p.m., I sent an e-mail to Ms. Nassiri requesting that

                    21   she meet and confer regarding the foregoing discovery requests no later than noon on October 30,

                    22   2019. Although Ms. Nassiri initially agreed to meet and confer at noon, as I had requested, she

                    23   later asked that our meeting be postponed to 2:30 p.m. on October 30, 2019. I agreed to that

                    24   request.

                    25          5.       On October 30, 2019, at approximately 2:30 p.m., I participated in a telephone

                    26   conference with Ms. Nassiri, Eric Winston (a member of her firm), and Ashley McDow (counsel

                    27   to the Debtors). During that telephone conference I explained that Amazon Logistics objected to

                    28   Hillair’s discovery requests and Ms. Nassiri and Mr. Winston disagreed with Amazon Logistic’s
MORGAN, LEWIS &                                                         -9-         AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                            ORDER QUASHING DISCOVERY
   COSTA MESA                                                                           REQUESTS PROPOUNDED BY HILLAIR
                Case 2:19-bk-14989-WB          Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                  Desc
                                               Main Document    Page 10 of 41


                     1   position. As a result, Amazon Logistics has determined to file a motion for a protective order and

                     2   requires an order shortening time so that the motion can be timely heard.

                     3          I declare under penalty of perjury that the foregoing is true and correct and that this

                     4   declaration was executed at Santa Monica, California, on October 31, 2019.

                     5
                                                                            /s/ Richard W. Esterkin
                     6                                                         Richard W. Esterkin
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MORGAN, LEWIS &                                                         - 10 -         AMAZON’S MOTION FOR PROTECTIVE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                           ORDER QUASHING DISCOVERY
   COSTA MESA                                                                          REQUESTS PROPOUNDED BY HILLAIR
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42   Desc
                        Main Document    Page 11 of 41




                           EXHIBIT 1

                             Exhibit 1 - page 11
Case 2:19-bk-14989-WB             Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42            Desc
                                  Main Document    Page 12 of 41



    1 John B. Quinn (Bar No. 90378)
      johnquinn@quinnemanuel.com
    2 Crystal Nix-Hines (Bar No. 2482073)
      crystalnixhines@quinnemanuel.com
    3 Eric Winston (Bar No. 202407)
      ericwinston@quinnemanuel.com
    4 Jennifer L. Nassiri (Bar No. 209796)
      jennifernassiri@quinnemanuel.com
    5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
       865 S. Figueroa St., 10th Floor
    6 Los Angeles, CA 90017
    7 Telephone: (213) 443-3000
      Facsimile: (213) 443-3100
    8
        Attorneys for Secured Creditor
    9   HILLAIR CAPITAL MANAGEMENT,
        LLC
   10
                                     UNITED STATES BANKRUPTCY             COURT
   11
                                      CENTRAL DISTRICT       OF CALIFORNIA
   12
                                             LOS ANGELES DIVISION
   13
         In re:                                              CASE NO. 2:19-bk-14989-WB
   14                                                        Jointly Administered:
         SCOOBEEZ, et al. 1                                  2:19-bk-14991-WB; 2: 19-bk-14997-WB
   15
                    Debtors and Debtors in Possession.       CHAPTER 11
   16

   17    Affects:

             •      All Debtors                              HILLAIR CAPITAL MANAGEMENT,
   18
                                                             LLC'S REQUESTS FOR PRODUCTION
   19        o Scoobeez, ONLY                                OF DOCUMENTS TO AMAZON
                                                             LOGISTICS, INC.
   20        0 Scoobeez Global, Inc., ONLY

   21        0 Scoobur, LLC, ONLY

   22

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   26       1 The Debtors and the last four digits of their respective federal taxpayer identification
        numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
   27   (0343). The Debtors' address is 3463 Foothill Boulevard, Glendale, California 91214.
   28

                                           HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                              OF DOCUMENTS TO AMAZON LOGISTICS, INC.
                                       Exhibit 1 - page 12
Case 2:19-bk-14989-WB        Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42              Desc
                             Main Document    Page 13 of 41


    1          Hillair Capital Management, LLC ("Hillair") serves the following Requests for Production

   2    of Documents ("Requests") to Amazon Logistics, Inc. ("Amazon") pursuant to Federal Rule of

   3    Civil Procedure 34, and Federal Rules of Bankruptcy Procedure 7034 and 9014. These Requests
   4
        are served in connection with the Notice of Motion for an Order: (A) Determining that the
    5
        Automatic Stay Does Not Require Amazon to Utilize Debtors' Services, and (B) Modifying the
    6
    7 Automatic Stay, filed by Amazon on October 28,2019 in the above-captioned chapter 11 case.

    8   [ECF No. 393]. Amazon is directed to produce for inspection and copying at the offices of Quinn

    9   Emanuel Urquhart & Sullivan, LLP, 865 S. Figueroa, 10th Floor, Los Angeles, CA 90017, Attn:

   10 Eric Winston, no later than November 1,2019, the documents and things described herein within
   11
        Amazon's possession, custody or control.
   12
        DATED: October 29,2019                     QUINN EMANUEL URQUHART &
   13                                              SULLIVAN, LLP

   14

   15

   16                                                  John B. Quinn
                                                       Crystal Nix-Hines
   17                                                  Eric D. Winston
                                                       Jennifer L. N assiri
   18
                                                       Attorneys for Secured Creditor Hillair Capital
   19
                                                       Management, LLC
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                                                        -1-
                                       HILLAIR CAPITAL MANAGEMENT,        LLC'S REQUEST FOR PRODUCTION
                                                              OF DOCUMENTS    TO AMAZON LOGISTICS,      INC.
                                    Exhibit 1 - page 13
Case 2:19-bk-14989-WB          Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                   Desc
                               Main Document    Page 14 of 41



    1                                                DEFINITIONS

   2            1.     "Hillair" means Hillair Capital Management, LLC and Hillair Capital Advisors,

   3    LLC and includes any managers, managing members, officers, directors, employees, agents, staff

   4    members or other representatives.

   5            2.      "Amazon" means Amazon Logistics, Inc. and includes, where applicable, any

   6    entities constituting parents, predecessors, successors, subsidiaries, affiliates, divisions, associated

   7 organizations, joint ventures, as well as present and former officers, directors, employees, staff

   8    members, agents, or other representatives.

   9            3.      "Amazon Agreement" means the Delivery Provider Terms of Service which

  10 provides the substantive terms of the agreement between Amazon and Scoobeez and the work

  11 order (as amended) which sets forth the specific locations and pricing terms.

  12            4.      "Scoobeez" means Scoobeez, Scoobeez Global, Inc., and Scoobur LLC and

  13 includes, where applicable, any entities constituting parents, predecessors, successors,

   14 subsidiaries, affiliates, divisions, associated organizations, joint ventures, as well as present and

   15 former officers, directors, employees, staff members, agents, or other representatives.

   16           5.      "Debtors" mean Scoobeez, Scoobeez Global, Inc. and Scoobur LLC, each debtors

   17 and debtors-in-possession     in the above captioned jointly administered case bearing Case No. 19-

   18   14989- WB (lead) pending in the United States Bankruptcy Court for the Central District of

   19   California.

  20            6.      "Scoobeez Employees" means all individuals, whether or not actively at work, who

  21    are employed by Scoobeez or have been employed by Scoobeez since January 2015.

  22            7.      "Routes" means the delivery route assignments provided by Amazon to Scoobeez

  23    under the terms of the Amazon Agreement.

  24            8.      "DSP" means delivery service provider for Amazon.

  25            9.      "Sale" means the proposed sale of the substantially all of the assets of the Debtors,

  26    including the Amazon Agreement, to Hillair, as stalking horse bidder, subject to higher and better

  27

  28                                                        -2-
                                          HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                             OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                       Exhibit 1 - page 14
Case 2:19-bk-14989-WB          Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                    Desc
                               Main Document    Page 15 of 41



    1 offers, as set forth in the motion to approve the sale filed on September 19, 2019 in the bankruptcy

    2   case.

    3             10.   "Ordinary Course of Business" means the ordinary and usual course of normal day-

    4   to-day operations between Scoobeez and Amazon consistent with past practices, including but not

    5   limited to, the number of delivery Routes that Amazon provides Scoobeez on a monthly basis.

    6             11.   "Person" means any individual, corporation, limited liability company, partnership,

    7   firm, joint venture, association, joint-stock company, trust, unincorporated organization,

    8   Governmental Body or other entity.

    9             12.   "Document" or "documents" shall be used in the broadest sense permitted under

   10 Federal Rule of Civil Procedure 34(a) as incorporated into Federal Rule of Bankruptcy Procedure

   11   7034 ..

   12             l3.   "Communications"      or "communications"   means written or verbal exchanges

   13 between any person(s) or entity(ies), including but not limited to verbal conversations, telephone

   14 calls, facsimiles, e-mails, what's-app (and similar applications), or any other means of electronic

   15 communication, letter, notes, memoranda, reports and any other documents which refer or relate to

   16 the written or verbal exchange.

   17             14.   "Concerning," "concern," "relate to," or "relating to" mean without limitation:

   18 regarding; containing; constituting; stating; mentioning, setting forth; recording; describing;

   19   reflecting; interpreting; identifying; referring to; evidencing; confirming, supporting;

   20   contradicting; controverting; or in any way pertaining to, in whole or in part, that subject to which

   21   it refers or that contention to which it refers.

   22             15.   "Electronically stored information" abbreviated herein as "ESI," has the meaning

   23   given to it in Federal Rule of Civil Procedure 34.

   24                                               INSTRUCTIONS

   25             1.    References to entities or corporations other than natural persons, including Amazon

   26   and Scoobeez shall be deemed to include, in addition to the entity named, its divisions,

   27   departments, subsidiaries, affiliates, parents, predecessors, present or former officers, directors,

   28                                                        -3-
                                           HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                              OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                       Exhibit 1 - page 15
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                     Desc
                              Main Document    Page 16 of 41



    1 employees, agents, representatives, accountants and attorneys, successors and all other persons

   2    acting or purporting to act on behalf of each such entity.

   3           2.      Each Request shall be construed independently and not with reference to any other

   4    Request for the purpose of limitation. The use of the singular form of any word includes the plural

    5   and vice versa; the past tense shall include the present tense and vice versa; and reference to any

   6    gender includes the other gender. The words "and," "or," and "and/or" shall each be deemed to

    7   refer to both their conjunctive and disjunctive meanings and shall be interpreted in a manner

    8   consistent with the broader document production. The word "including" shall mean "including

    9 but not limited to." The words "every," "all," and "any" shall mean "each and every" as well as

  10 "anyone."

   11          3.      If any Request cannot be complied with in full, it shall be complied with to the

   12 extent possible, with an explanation as to why full compliance is not possible.

   13          4.      In the event that any Document responsive to these requests for production is

   14   subject to any claim of privilege (including work product), the responding party shall furnish a log

   15 identifying each such Document by:

   16                  (a)     identifying the Person who prepared or authored the Document and, if

   17 applicable, the persons who sent the Document and to whom the Document was sent (including

   18 copies) and the dates on which the Document was prepared and transmitted;

   19                  (b)     describing the nature of the Document (e.g., letter, inter-office

  20    memorandum, notes, etc.) and, to the extent possible, the subject matter thereof;

  21                   (c)     identifying any and all attachments or enclosures appurtenant to such

  22    Documents;

  23                   (d)     stating briefly the nature of the privilege asserted; and

  24                   (e)     producing any non-privileged portions, attachments or enclosures to any

  25    such privileged Document, and identifying the portiones) of the Document to which privilege is

  26    claimed.

  27            5.     Your search should include both hard copies and ESI.

  28                                                       -4-
                                         HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                            OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                      Exhibit 1 - page 16
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                   Desc
                              Main Document    Page 17 of 41



    1           6.     Where a responsive Document is in a language other than English, state whether or

   2    not an English translation of the Document exists. If a responsive Document is in a language

   3    other than English and an English translation thereof does exist, produce both the original and the

   4    English language translation.

    5           7.     Each copy of any Document that contains any markings not appearing on the

    6   original, or is an alteration of the original, shall be considered a separate Document for purposes of

    7 these discovery requests.

    8           8.     If possible, supply all financial data requested on a calendar year basis. If fiscal

    9   year data is provided, please specify the dates on which the fiscal years begin and end, unless

   10 otherwise specified in the Request.

   11           9.     For any information requested that is not readily available from your records in the

   12 form requested, furnish carefully prepared estimates, designated as such, attach a statement of the

   13 basis for such estimates and identify the person or persons making them.

   14           10.    Records produced should be produced as ordinarily maintained in the regular

   15 course of business, including ESI, electronic materials, information and data that are electronically

   16 searchable should be produced in a form that does not remove or degrade this feature.

   17           11.    Documents in electronic form, including, but not limited to, e-mail, should be

   18 produced in color in single page tagged image file format ("TIFF"). TIFFs shall show all text and

   19 images that would be visible in the original electronic format (native format), including redlines

  20    and speaker notes, and Hillair reserves the right to make a reasonable request for the production of

  21    any documents in native format. An associated load file linking the images to the corresponding

  22    Document should be provided. All metadata associated with any ESI shall be produced in text

  23    format linked to the associated Document. Extracted text or, if extracted text is not available,

  24    optical character recognition (OCR) text should be provided in Document-level text files.

   25           12.    Unless otherwise specified, the time frame for each Request is January 1,2015 to

   26   the present.

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   28                                                      -5-
                                          HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                             OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                        Exhibit 1 - page 17
Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42              Desc
                                Main Document    Page 18 of 41



    1                                    REQUESTS FOR PRODUCTION

   2 REQUEST FOR PRODUCTION NO.1:

   3               All Documents and Communications concerning the Amazon Agreement.

   4 REQUEST FOR PRODUCTION NO.2:

    5              All Documents and Communications concerning Scoobeez.

    6 REQUEST FOR PRODUCTION NO.3:

   7               All Documents and Communications concerning Amazon's decision to terminate

    8   Scoobeez as a DSP.

    9 REQUEST FOR PRODUCTION NO.4:

   10              All Documents and Communications concerning Amazon's decision to object to Scoobeez

   11 assumption of the Amazon Agreement and assignment to Hillair in connection with the Sale.

   12 REQUEST FOR PRODUCTION NO.5:

   13              All Documents and Communications concerning the daily total Routes for each

   14 distribution center that Scoobeez services for all DSPs that service that distribution center and the

   15 percentage of those Routes given to Scoobeez.

   16 REQUEST FOR PRODUCTION NO.6:

   17              All Documents concerning the identity of all DSPs utilized by Amazon in the geographic

   18 regions serviced by Scoobeez for Amazon.

   19 REQUEST FOR PRODUCTION NO.7:

  20               All Documents and Communications concerning any offer or promise, whether express or

  21    implied, concerning any incentives and have been, will be, or may be offered by Amazon to any

  22    current or former Scoobeez Employee related to the Scoobeez Employee's/Employees'        continued

  23    or future services on behalf of Amazon.

  24    REQUEST FOR PRODUCTION NO.8:

   25              All Communications by and between Amazon officers, employees, or agents concerning

   26   the reduction of Scoobeez Routes or volume of deliveries between September 1, 2019 to the

   27   present.

   28                                                      -6-
                                          HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                             OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                       Exhibit 1 - page 18
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42              Desc
                              Main Document    Page 19 of 41



    1 REQUEST FOR PRODUCTION NO.9:

   2           All Documents concerning Amazon's policies and procedures in connection with its DSPs,

   3    including but not limited to, policies relating to termination of DSPs.

   4    REQUEST FOR PRODUCTION NO. 10:

    5          All Communications and Documents concerning any complaints or grievances about

    6   Scoobeez performance under the terms of the Amazon Agreement, including but not limited to

    7   complaints or grievances about individual Scoobeez Employees ..

    8   REQUEST FOR PRODUCTION NO.8:

    9          All Documents and Communications concerning Amazon's financial projections for

   10 increased delivery requirements for Los Angeles, Dallas, Houston, San Antonio and Chicago to

   11 service anticipated increases in consumer demands.

   12 REQUEST FOR PRODUCTION NO.9:

   13          All Documents and Communications that any agent, employee, attorney, or other

   14 representative of Amazon has had with any Scoobeez Employee that was employed by Scoobeez

   15 during the calendar year 2019.

   16 REQUEST FOR PRODUCTION NO. 10:

   17          All Documents and Communications that any agent, employee, attorney, or other

   18 representative of Amazon has had with any DSP concerning potential absorption, acquisition, or

   19 hiring of any current or former Scoobeez employee.

   20   REQUEST FOR PRODUCTION NO. 11:

   21           All Documents and Communications concerning the proofs of claim filed by Amazon and

   22   Amazon.com in the above-captioned bankruptcy case bearing claim nos. 23-1, 31-1, 32-1, 36-1-2,

   23   37-1,38-1, and 39-1-2 as reflected on the official claims register maintained by the Bankruptcy

   24   Court, including the Documents and Communications concerning the lawsuits that support the

   25   factual bases for those claims.

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   28                                                      -7-
                                          HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                             OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                     Exhibit 1 - page 19
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                  Desc
                              Main Document    Page 20 of 41



    1 REQUEST FOR PRODUCTION NO. 12:

   2           All Communications       that any agent, employee, attorney, or other representative of

   3    Amazon has had with or concerning Shahan Ohanessian.

   4    REQUEST FOR PRODUCTION NO. 13:

    5          All Communications       that any agent, employee, attorney, or other representative of

    6   Amazon has had with or concerning Suzy Ohanessian.

    7 REQUEST FOR PRODUCTION NO. 14:
    8          All Communications       that any agent, employee, attorney, or other representative of

    9   Amazon has had with or concerning David Ojeda.

   10 REQUEST FOR PRODUCTION NO. 18:

   11          All Communications       that any agent, employee, attorney, or other representative of

   12 Amazon has had with or concerning Penelope Register Shaw

   13 REQUEST FOR PRODUCTION NO. 19:

   14          All Documents and Communications concerning those "other factors" on which Amazon

   15 purportedly relied on in deciding to terminate its relationship with Scoobeez, as referenced on

   16 page 7 of Amazon's Opposition to Applicationfor         Temporary Restraining Order filed on October

   17 28,2019 [Adv.DocNo.        10].

   18 REQUEST FOR PRODUCTION NO. 20:

   19          All documents that evidence, support or concern Amazon's statement to the Court that,

   20   "[h]aving supported Scoobeez's reorganization efforts for the past six months by continuing to

   21   provide Scoobeez with routes and refraining from seeking relief from the automatic stay to

   22   exercise its termination right, Amazon is now entitled to relief from the stay[,]" stated on page 8 of

   23   Amazon's Motionfor Relief From the Automatic Stay filed on October 28,2019 [Dkt. No. 393].

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   28                                                       -8-
                                          HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                             OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                     Exhibit 1 - page 20
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42           Desc
                        Main Document    Page 21 of 41



    1 DATED: October 29, 2019              QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
   2

   3

   4
                                               John B. Quinn
    5                                          Crystal Nix-Hines
                                               Eric D. Winston
   6                                           Jennifer L. Nassiri

    7                                          Attorneys for Proposed Intervenor and Plaintiff
                                               HILLAIR CAPITAL MANAGEMENT, LLC
    8

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   28                                           -9-
                                  HILLAIR CAPITAL MANAGEMENT, LLC'S REQUEST FOR PRODUCTION
                                                     OF DOCUMENTS TO AMAZON LOGISTICS, INC.

                                Exhibit 1 - page 21
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42              Desc
                              Main Document    Page 22 of 41



   1                                           PROOF OF SERVICE

   2           I am employed in the County of Los Angeles, State of California. I am over the age of
       eighteen years and not a party to the within action; my business address is 865 South Figueroa
   3   Street, 10th Floor, Los Angeles, California 90017-2543.

   4           On October 29,2019, I served true copies of the following docurnent(s) described as:

   5   HILLAIR CAPITAL MANAGEMENT, LLC'S REQUESTS FOR PRODUCTION OF
       DOCUMENTS TO AMAZON LOGISTICS, INC.
   6
       on the parties in this action as follows:
   7
       Ashley M. McDow                                   Richard W. Esterkin
   8   John A. Simon                                     MORGAN, LEWIS & BOCKIUS
        Shane J. Moses                                   300 S. Grand Ave., Floor 22
   9   FOLEY & LARDNER LLP                               Los Angeles, CA 90071-3132
        555 S. Flower St. 33rd Floor                     Tel. no. 213-612-2500
  10   Los Angeles, CA 90071                             richard.esterkin@morganlewis.com
       Tel. no. 213-972-4500
  11   arncdow@foley.com
       j simon@foley.com
  12   smoses@foley.com

  13   John-Patrick M. Fritz                             Alvin P. Mar
       David L. Neale                                    OFFICE OF THE UNITED STATES
  14   LEVENE, NEALE, BENDER, YOO &                      TRUSTEE
       BRILL LLP                                         915 Wilshire Blvd., Suite 1850
  15    10250 Constellation Blvd., Suite 1700            Los Angeles, CA 90017
       Los Angeles, CA 90067                             Tel. no. 213-894-4219
  16   Tel. no. 310-229-1234                             alvin.mar@usdoj.gov
       jpf@lnbyb.com
  17   dln@lnbyb.com

  18
              BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of the
  19 parties to accept service bye-mail or electronic transmission, I caused the document(s) to be sent
     from the e-mail address jennifernassiri@quinnemanuel.com        to persons at the e-mail addresses
  20 listed in the Service List. I did not receive, within a reasonable time after the transmission, any
     electronic message or other indication that the transmission was unsuccessful.
  21
              I declare under penalty of perjury under the laws of the State of California that the
  22 foregoing is true and correct.

  23           Executed on October 29,2019, at Los Angeles, California.

  24

  25

  26                                                   lsi Jennifer Nassiri

  27                                                   Jennifer Nassiri

  28

                                                       -1-
                                                                                       PROOF OF SERVICE)
                                      Exhibit 1 - page 22
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42   Desc
                        Main Document    Page 23 of 41




                           EXHIBIT 2

                             Exhibit 2 - page 23
Case 2:19-bk-14989-WB            Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42              Desc
                                 Main Document    Page 24 of 41




         John B. Quinn (Bar No. 90378)
         johnquinn@quinnemanuel.com
     2   Crystal Nix-Hines (Bar No. 2482073)
         crystalnixhines@quinnemanuel.com
     3   Eric Winston (Bar No. 202407)
         ericwinston@quinnemanuel.com
     4   Jennifer L. Nassiri (Bar No. 209796)
         jennifernassiri@quinnemanuel.com
     5    QUINN EMANUEL URQUHART & SULLIVAN, LLP
          865 S. Figueroa St., 10th Floor
     6   Los Angeles, CA 90017
     7    Telephone: (213) 443-3000
          Facsimile: (213) 443-3100
     8
       Attorneys for Secured Creditor
     9 HILLAIR CAPITAL MANAGEMENT,
       LLC
    10
                                    UNITED STATES BANKRUPTCY COURT
    11
                                     CENTRAL DISTRICT OF CALIFORNIA
    12
                                            LOS ANGELES DIVISION
    13
          In re:                                            CASE NO. 2:19-bk-14989-WB
    14                                                      Jointly Administered:
          SCOOBEEZ, et al. I                                2:19-bk-14991-WB; 2: 19-bk-14997- WB
    15
                   Debtors and Debtors in Possession.       CHAPTER 11
    16

    17    Affects:

              •    All Debtors                              HILLAIR CAPITAL MANAGEMENT,
    18                                                      LLC'S NOTICE OF DEPOSITION OF
    19        o Scoobeez, ONLY                              VANESSA DELANEY

    20        0 Scoobeez Global, Inc., ONLY

    21        0 Scoobur, LLC, ONLY

    22

    23

    24

    25

    26     I The Debtors and the last four digits of their respective federal taxpayer identification

    27 numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
       (0343). The Debtors' address is 3463 Foothill Boulevard, Glendale, California 91214.
    28

                                                                                      NOTICE OF DEPOSITION



                                      Exhibit 2 - page 24
Case 2:19-bk-14989-WB            Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                      Desc
                                 Main Document    Page 25 of 41




                TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
     2          PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 30, et seq.

     3   (made applicable to this matter by Federal Rules of Bankruptcy Procedure 7030 and 9014),

     4
         Secured Creditor Hillair Capital Management,         LLC ("Hillair"), through its attorneys of record,
     5
         will take the deposition of Vanessa Delaney on November           1,2019 at 9:00 a.m. at the offices of
     6
         Quinn Emanuel Urquhart & Sullivan, LLP, 865 S. Figuerora,            10th Floor, Los Angeles, CA 90017.
     7
     8   This deposition will be taken in connection with the Notice of Motion for an Order: (A)

     9 Determining that the Automatic Stay Does Not Require Amazon to Utilize Debtors' Services, and

    10 (B) Modifying the Automatic Stay, filed by Amazon on October 28, 2019 in the above-captioned

    11   chapter 11 case. [ECF No. 393]. The deposition will take place before a duly authorized notary
    12
         public or other officer authorized to administer oaths at depositions,      and will continue from day to
    13
         day, Saturdays, Sundays, and legal holidays excepted, until completed, or according to a schedule
    14
         mutually agreed upon by the parties in advance of the deposition.         The deposition will continue
    15
    16   from day to day, or may be continued to a future date or dates, until completed.

    17          PLEASE TAKE FURTHER NOTICE that, the deposition will be videotaped and/or

    18   recorded by stenographic     means. Hillair also reserves the right to use LiveNote or other

    19   technology    for real-time transcription   of the testimony.
    20
         DATED:       October 29,2019                        QUINN EMANUEL         URQUHART       &
    21                                                       SULLIVAN, LLP

    22

    23

    24
                                                             John B. Quinn
                                                             Crystal Nix-Hines
    25
                                                             Eric D. Winston
                                                             Jennifer L. Nassiri
    26
                                                             Attorneys for Secured Creditor Hillair Capital
    27
                                                             Management, LLC
    28

                                                               -1-
                                                                                           NOTICE OF DEPOSITION

                                         Exhibit 2 - page 25
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42   Desc
                        Main Document    Page 26 of 41




                           EXHIBIT 3

                             Exhibit 3 - page 26
Case 2:19-bk-14989-WB            Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42               Desc
                                 Main Document    Page 27 of 41




         John B. Quinn (Bar No. 90378)
         johnquinn@quinnemanuel.com
     2   Crystal Nix-Hines (Bar No. 2482073)
         crystalnixhines@quinnemanuel.com
     3   Eric Winston (Bar No. 202407)
         ericwinston@quinnemanuel.com
     4   Jennifer L. Nassiri (Bar No. 209796)
         jennifernassiri@quinnemanuel.com
     5   QUINN EMANUEL URQUHART & SULLIVAN, LLP
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     6   Los Angeles, CA 90017
     7   Telephone: (213) 443-3000
         Facsimile: (213) 443-3100
     8
       Attorneys for Secured Creditor
     9 HILLAIR CAPITAL MANAGEMENT,
       LLC
    10

    11                              UNITED STATES BANKRUPTCY COURT

    12                               CENTRAL DISTRICT OF CALIFORNIA

    13                                      LOS ANGELES DIVISION

          In re:                                            CASE NO. 2:19-bk-14989-WB
    14
                                                            Jointly Administered:
          SCOOBEEZ, et al.I                                 2: 19-bk-14991-WB; 2:19-bk-14997- WB
    15
                   Debtors and Debtors in Possession.       CHAPTER 11
    16

    17   Affects:

    18        •    All Debtors                              HILLAIR CAPITAL MANAGEMENT,
                                                            LLC'S NOTICE OF DEPOSITION OF
    19        o Scoobeez, ONLY                              JAMES WILSON

    20        0 Scoobeez Global, Inc., ONLY

    21        0 Scoobur, LLC, ONLY

    22

    23

    24

    25

    26     I The Debtors and the last four digits of their respective federal taxpayer identification
    27 numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
       (0343). The Debtors' address is 3463 Foothill Boulevard, Glendale, California 91214.
    28

                                                                                      NOTICE OF DEPOSITION



                                      Exhibit 3 - page 27
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                   Desc
                              Main Document    Page 28 of 41




                TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

     2          PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 30, et seq.

     3 (made applicable to this matter by Federal Rules of Bankruptcy Procedure 7030 and 9014),
     4
         Secured Creditor Hillair Capital Management, LLC ("Hillair"), through its attorneys of record,
     5
         will take the deposition of James Wilson on November 4, 2019 at 9:00 a.m. at the offices of Quinn
     6
         Emanuel Urquhart & Sullivan, LLP, 865 S. Figuerora, 10th Floor, Los Angeles, CA 90017. This
     7
     8 deposition wi II be taken in connection with the Notice of Motion for an Order: (AJ Determining

     9 that the Automatic Stay Does Not Require Amazon to Utilize Debtors' Services, and (BJ Modifying

    10 the Automatic Stay, filed by Amazon on October 28, 2019 in the above-captioned chapter 11 case.

    II   [ECF No. 393]. The deposition will take place before a duly authorized notary public or other
    12
         officer authorized to administer oaths at depositions, and will continue from day to day, Saturdays,
    13
         Sundays, and legal holidays excepted, until completed, or according to a schedule mutually agreed
    14
         upon by the parties in advance of the deposition. The deposition will continue from day to day, or
    15
    16 may be continued to a future date or dates, until completed.

    17          PLEASE TAKE FURTHER NOTICE that, the deposition will be videotaped and/or

    18 recorded by stenographic means. Hillair also reserves the right to use LiveNote or other
    19 technology for real-time transcription of the testimony_

   20
         DATED: October29,2019                         QUINN EMANUEL URQUHART &
   21                                                  SULLIVAN, LLP

   22

   23

   24
                                                       John B. Quinn
   25                                                  Crystal Nix-Hines
                                                       Eric D. Winston
   26                                                  Jennifer L. Nassiri

   27                                                  Attorneys for Secured Creditor Hillair Capital
                                                       Management, LLC
   28

                                                         -1-
                                                                                     NOTICE OF DEPOSITION

                                     Exhibit 3 - page 28
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42   Desc
                        Main Document    Page 29 of 41




                           EXHIBIT 4

                             Exhibit 4 - page 29
Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                Desc
                                Main Document    Page 30 of 41




     1 John B. Quinn (Bar No. 90378)
       johnquinn@quinnemanuel.com
     2 Crystal Nix-Hines (Bar No. 2482073)
       crystalnixhines@quinnemanuel.com
     3 Eric Winston (Bar No. 202407)
       ericwinston@quinnemanuel.com
     4 Jennifer L. Nassiri (Bar No. 209796)
       jennifernassiri@quinnemanuel.com
     5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
        865 S. Figueroa St., 10th Floor
     6 Los Angeles, CA 90017
     7 Telephone: (213) 443-3000
       Facsimile: (213) 443-3100
     8
       Attorneys for Secured Creditor
     9 HILLAIR CAPITAL MANAGEMENT,
       LLC
    10
                               UNITED STATES BANKRUPTCY COURT
    11
                                    CENTRAL DISTRICT OF CALIFORNIA
    12
                                           LOS ANGELES DIVISION
    13
         In re:                                             CASE NO. 2:19-bk-14989-WB
    14                                                      Jointly Administered:
         SCOOBEEZ, et al.l                                  2:19-bk-14991-WB; 2:19-bk-14997-WB
    15
                  Debtors and Debtors in Possession.        CHAPTER 11
    16

    17   Affects:

             •    All Debtors                               HILLAIR CAPITAL MANAGEMENT,
    18                                                      LLC'S NOTICE OF DEPOSITION OF
    19       D Scoobeez, ONLY                               MICAH MCCABE

    20       D Scoobeez Global, Inc., ONLY

    21       D Scoobur, LLC, ONLY

    22

    23

    24

    25

    26     1 The Debtors and the last four digits of their respective federal taxpayer identification
    27 numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
       (0343). The Debtors' address is 3463 Foothill Boulevard, Glendale, California 91214.
    28

                                                                                      NOTICE OF DEPOSITION



                                     Exhibit 4 - page 30
            Case 2:19-bk-14989-WB                   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                        Desc
                                                    Main Document    Page 31 of 41




                         1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                         2           PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 30, et seq.

                         3   (made applicable to this matter by Federal Rules of Bankruptcy         Procedure 7030 and 9014),

                         4
                             Secured Creditor Hillair Capital Management,      LLC ("Hillair"), through its attorneys of record,
                         5
                             will take the deposition of Micah McCabe on November 4,2019             at 9:00 a.m. at the offices of
                         6
                             Quinn Emanuel Urquhart & Sullivan, LLP, 865 S. Figuerora,         10th Floor, Los Angeles, CA 90017.
                         7
                         8   This deposition will be taken in connection with the Notice of Motion for an Order: (A)

                         9 Determining that the Automatic Stay Does Not Require Amazon to Utilize Debtors' Services, and

                     10 (B) Modifying the Automatic Stay, filed by Amazon on October 28,2019                 in the above-captioned

                     11      chapter 11 case. [ECF No. 393]. The deposition will take place before a duly authorized notary
                     12
                             public or other officer authorized to administer oaths at depositions,     and will continue from day to
                     13
                             day, Saturdays, Sundays, and legal holidays excepted, until completed, or according to a schedule
                     14
                             mutually agreed upon by the parties in advance of the deposition.        The deposition will continue
                     15
                     16      from day to day, or may be continued to a future date or dates, until completed.

                    17               PLEASE TAKE FURTHER NOTICE that, the deposition will be videotaped and/or

                    18       recorded by stenographic   means.   Hillair also reserves the right to use LiveNote or other

                    19       technology for real-time transcription   of the testimony.
                    20
                             DATED:     October 29,2019                       QUINN EMANUEL            URQUHART       &
                    21                                                        SULLIVAN, LLP

                    22

                    23

                    24
                                                                              John B. Quinn
                                                                              Crystal Nix-Hines
                    25
                                                                              Eric D. Winston
                                                                              Jennifer L. Nassiri
                    26
                                                                              Attorneys for Secured Creditor Hillair Capital
                    27
                                                                              Management, LLC
                    28
09533-00001/11154619.1
                                                                                                                 NOTICE OF DEPOSITION



                                                           Exhibit 4 - page 31
Case 2:19-bk-14989-WB   Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42   Desc
                        Main Document    Page 32 of 41




                           EXHIBIT 5

                             Exhibit 5 - page 32
Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42               Desc
                                Main Document    Page 33 of 41




     1 John B. Quinn (Bar No. 90378)
       johnquinn@quinnemanuel.com
     2 Crystal Nix-Hines (Bar No. 2482073)
       crystalnixhines@quinnemanuel.com
     3 Eric Winston (Bar No. 202407)
       ericwinston@quinnemanuel.com
     4 Jennifer L. Nassiri (Bar No. 209796)
       jennifernassiri@quinnemanuel.com
     5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
        865 S. Figueroa St., 10th Floor
     6 Los Angeles, CA 90017
     7 Telephone: (213) 443-3000
       Facsimile: (213) 443-3100
     8
       Attorneys for Secured Creditor,
     9 HILLAIR CAPITAL MANAGEMENT,
       LLC
    10
                                   UNITED STATES BANKRUPTCY COURT
    11
                                    CENTRAL DISTRICT OF CALIFORNIA
    12
                                           LOS ANGELES DIVISION
    13
         In re:                                             CASE NO. 2:19-bk-14989-WB
    14
                                                            Jointly Administered:
         SCOOBEEZ, et al. I                                 2:19-bk-14991- WB; 2:19-bk-14997-WB
    15
                  Debtors and Debtors in Possession.        CHAPTER 11
    16

    17   Affects:

             •    All Debtors                               HILLAIR CAPITAL MANAGEMENT,
    18
                                                            LLC'S NOTICE OF 30(b)(6) DEPOSITION
    19       D Scoobeez, ONLY                               OF AMAZON LOGISTICS, INC.

    20       D Scoobeez Global, Inc., ONLY

    21       D Scoobur, LLC, ONLY

    22

    23

    24

    25

    26     I The Debtors and the last four digits of their respective federal taxpayer identification
       numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
    27 (0343). The Debtors' address is 3463 Foothill Boulevard, Glendale, California 91214.
    28

                                   HILLAIR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                            AMAZON LOGISTICS, INC.

                                     Exhibit 5 - page 33
Case 2:19-bk-14989-WB        Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                    Desc
                             Main Document    Page 34 of 41



     1          PLEASE TAKE NOTICE THAT, pursuant to Federal Rule of Civil Procedure 30(b)(6),

     2 (made applicable to this matter by Federal Rules of Bankruptcy Procedure 7030 and 9014), Hillair

     3 Capital Management, LLC ("Hillair") will take the deposition upon oral examination of Amazon

     4 Logistics, Inc. ("Amazon") commencing on November 4,2019 at 9:00 a.m. at the offices of

     5 Quinn Emanuel Urquhart & Sullivan, LLP, 865 S. Figuerora, 10th Floor, Los Angeles, CA 90017.

     6 Amazon shall designate one or more of its officers, directors, managing agents, or other persons

     7 with knowledge of the matters set forth in this Notice to appear and testify on its behalf at the

     8 deposition. The persons so designated shall testify as to matters known or reasonably available to

     9 Amazon. This deposition is served in connection with the Notice of Motion for an Order: (AJ

    10 Determining that the Automatic Stay Does Not Require Amazon to Utilize Debtors' Services, and

    11 (BJ Modifying the Automatic Stay, filed by Amazon on October 28, 2019 in the above-captioned

    12 chapter 11 case. [ECF No. 393].
    13          The deposition will take place before a duly authorized notary public or other officer

    14 authorized to administer oaths at depositions, and will continue from day to day, Saturdays,

    15 Sundays, and legal holidays excepted, until completed, or according to a schedule mutually agreed

    16 upon by the parties in advance of the deposition. The deposition will be videotaped and/or

    17 recorded by stenographic means. Hillair also reserves the right to use LiveNote or other

    18 technology for real-time transcription of the testimony.

    19
    20 DATED: October 29,2019                        QUINN EMANUEL URQUHART &
                                                     SULLIVAN, LLP
    21

    22

    23
                                                         John B. Quinn
    24                                                   Crystal Nix-Hines
                                                         Eric D. Winston
    25                                                   Jennifer L. Nassiri
    26                                                   Attorneys for Secured Creditor Hillair Capital
    27                                                   Management, IIC

    28

                                   HILLAIR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                            AMAZON LOGISTICS, INC.


                                     Exhibit 5 - page 34
Case 2:19-bk-14989-WB             Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                            Desc
                                  Main Document    Page 35 of 41




     1                                     INSTRUCTIONS AND DEFINITIONS

     2              1.      Unless otherwise specified, the time frame for each Topic is January 1, 2015 to the

     3   present.

     4              2.      "Hillair" means Hillair Capital Management,        LLC and Hillair Capital Advisors,

     5   LLC and includes any managers, managing members, officers, directors, employees, agents, staff

     6   members or other representatives.

     7              3.      "Amazon"     means Amazon Logistics, Inc. and includes, where applicable, any

     8   entities constituting   parents, predecessors,   successors,   subsidiaries,   affiliates, divisions, associated

     9   organizations,    joint ventures, as well as present and former officers, directors, employees, staff

    10   members, agents, or other representatives.

    11              4.      "Amazon Agreement"       means the Delivery Provider Terms of Service which

    12   provides the substantive terms of the agreement between Amazon and Scoobeez and the work

    13   order (as amended) which sets forth the specific locations and pricing terms.

    14              5.      "Scoobeez"    means Scoobeez, Scoobeez Global, Inc, and Scoobur LLC and

    15   includes, where applicable, any entities constituting parents, predecessors,           successors,

    16   subsidiaries,    affiliates, divisions, associated organizations,   joint ventures, as well as present and

    17   former officers, directors, employees, staff members, agents, or other representatives.

    18              6.      "Debtors" mean Scoobeez, Scoobeez Global, Inc. and Scoobur LLC, each debtors

    19   and debtors-in-possession       in the above captioned jointly administered       case bearing case no. 19-

    20   14989-WB (lead) pending in the United States Bankruptcy             Court for the Central District of

    21   California.

    22              7.      "Scoobeez Employees"      means all individuals, whether or not actively at work, who

    23   are employed by Scoobeez or have been employed by Scoobeez since January 2015.

    24              8.      "Routes" means the delivery route assignments provided by Amazon to Scoobeez

    25   under the terms of the Amazon Agreement.

    26              9.      "DSP" means delivery service provider for Amazon.

    27              10.     "Sale" means the proposed sale of the substantially         all of the assets of the Debtors,

    28   including the Amazon Agreement,          to Hillair, as stalking horse bidder, subject to higher and better

                                         HILLAIR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                                  AMAZON LOGISTICS, INC.

                                           Exhibit 5 - page 35
Case 2:19-bk-14989-WB              Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                            Desc
                                   Main Document    Page 36 of 41




         offers, as set forth in the motion to approve the sale filed on September              19, 2019 in the bankruptcy

     2   case.

     3             11.       "Person" means any individual, corporation,          limited liability company,

     4   partnership,     firm, joint venture, association, joint-stock      company, trust, unincorporated

     5   organization,     Governmental      Body or other entity.

     6             12.      "Document"       or "documents"    shall be used in the broadest sense permitted under

     7   Federal Rule of Civil Procedure 34(a) as incorporated              into Federal Rule of Bankruptcy     Procedure

     8   7034 ..

     9             13.      "Communications"       or "communications"        means written or verbal exchanges

    10   between any person(s) or entity(ies), including but not limited to verbal conversations,              telephone

    11   calls, facsimiles, e-mails, what's-app       (and similar applications),     or any other means of electronic

    12   communication,       letter, notes, memoranda,       reports and any other documents which refer or relate to

    13   the written or verbal exchange.

    14             14.      "Concerning,     "concern,"   "relate to," or "relating to" mean without limitation:

    15   regarding; containing; constituting;        stating; mentioning,     setting forth; recording; describing;

    16   reflecting; interpreting;    identifying; referring to; evidencing;      confirming,    supporting;

    17   contradicting;     controverting;    or in any way pertaining to, in whole or in part, that subject to which

    18   it refers or that contention to which it refers.

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                                        HlLLAlR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                                 AMAZON LOGrSTICS, INC.

                                             Exhibit 5 - page 36
Case 2:19-bk-14989-WB         Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                         Desc
                              Main Document    Page 37 of 41




     1                                      TOPICS FOR EXAMINATION

     2        1.   The Amazon Agreement with Scoobeez, including any decision to terminate the

     3             Amazon Agreement and the terms of the proposed separation agreement as reflected

     4             in the October 16, 2019 e-mail from Richard Esterkin, counsel to Amazon to the

     5             Debtors.

     6        2. The identities, titles roles, contributions     and responsibilities    of all Persons who have

     7             served or are serving as an officer, director, manager, or employee with

     8             responsibilities    and/or oversight concerning Scoobeez or the Routes provided to

     9             Scoobeez on a weekly basis.

    10        3. Amazon's       policies and procedures     concerning DSPs, including but not limited to

    11             those policies      and procedures with respect to the termination     of DSPs.

    12        4. The daily total Routes for each distribution center that Scoobeez services for all DSPs

    13             that service that distribution    center; and (b) the percentage     of those Routes provided to

    14             Scoobeez

    15        5. The identity of all DSPs utilized by Amazon in the regions serviced by Scoobeez for

    16             Amazon.

    17        6. Any offer or promise, whether express or implied, and whether in writing or oral,

    18             concerning any incentives and have been, will be, or may be offered by Amazon to

    19             any current or former Scoobeez Employee related to the Scoobeez

    20             Employee's/Employees'         continued or future services on behalf of Amazon.

    21        7.   Statements made by Amazon as set forth in the May 13,2019 articles entitled

    22             "Amazon Helps Employees Launch Small Businesses"               published by

    23             ecommercebytes.com,         and "Amazon Will Pay Workers to Quit and Start Their Own

    24             Delivery Businesses"       published by the New York Times.

    25        8. All "other factors" on which Amazon purportedly            replied in deciding to sever its

    26             relationship with Scoobeez, as referenced on page 7 of its Opposition to Application

    27             for Temporary Restraining Order filed in adversary proceeding no. 19-ap-0 1456 on

    28             October 28,2019        [Adv. ECF No. 10].

                                      HILL AIR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                                AMAZON LOGISTICS, INC.


                                        Exhibit 5 - page 37
Case 2:19-bk-14989-WB        Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                    Desc
                             Main Document    Page 38 of 41




     1       9. All internal Communications        by and between Amazon officers, employees, or agents,

     2           including Communications       with any third party, concerning any reduction of

     3           Scoobeez'     Routes or volume of deliveries between September      1,2019 and present.

     4        10. Any complaints or grievances, whether orally or in writing, concerning       Scoobeez's

     5           performance     in making deliveries for Amazon, including but not limited to complaints

     6           about individual Scoobeez Employees and any claims by Amazon that Scoobeez had

     7           failed to perform under the Amazon Agreement.

     8        11. Any financial projections concerning increased delivery abilities or needs that

     9           Amazon believes it will require in the regions of Los Angeles, Dallas, Houston, San

    10           Antonio, and Chicago, in order to keep up with any anticipated       increase in consumer

    11           sales in those regions.

    12        12. Any communications       that any agent, employee, attorney, or other representative    of

    13           Amazon has had with any DSP concerning potential absorption, acquisition, or hiring

    14           of any current or former Scoobeez employee, including the individuals involved with

    15           such communications       and the date and substance of such communications.

    16        13. The proof of claims filed by Amazon and Amazon.com          in the above-captioned

    17           bankruptcy case bearing claim nos. 23-1, 31-1, 32-1, 36-1-2, 37-1, 38-1, and 39-1-2

    18           on the official claims register maintained by the Bankruptcy      Court, including the

    19           lawsuits involving Amazon and Scoobeez that support the factual bases for those

    20           claims.

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                                 HILLAIR CAPITAL MANAGEMENT, LLC'S NOTICE OF 30(b)(6) DEPOSITION OF
                                                                          AMAZON LOGISTICS, INC.


                                   Exhibit 5 - page 38
Case 2:19-bk-14989-WB           Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                    Desc
                                Main Document    Page 39 of 41




     1                                           PROOF    OF SERVICE

     2           I am employed in the County of Los Angeles, State of California. I am over the age of
         eighteen years and not a party to the within action; my business address is 865 South Figueroa
     3   Street, 10th Floor, Los Angeles, California 90017-2543.

     4           On October 29,2019,     I served true copies of the following document(s)   described as:

     5   HILLAIR CAPITAL MANAGEMENT,   LLC'S REQUESTS                          FOR PRODUCTION         OF
         DOCUMENTS   TO AMAZON LOGISTICS,  INC.
     6
         on the parties in this action as follows:
     7
         Ashley M. McDow                                      Richard W. Esterkin
     8   John A. Simon                                        MORGAN, LEWIS & BOCKIUS
          Shane J. Moses                                      300 S. Grand Ave., Floor 22
     9   FOLEY & LARDNER LLP                                  Los Angeles, CA 90071-3132
          555 S. Flower St. 33rd Floor                        Tel. no. 213-612-2500
    10   Los Angeles, CA 90071                                richard.esterkin@morganlewis.com
         Tel. no. 213-972-4500
    11   amcdow@foley.com
         j simon@foley.com
    12    smoses@foley.com

    13    John-Patrick M. Fritz                               Alvin P. Mar
          David L. Neale                                      OFFICE OF THE UNITED STATES
    14    LEVENE, NEALE, BENDER, YOO &                        TRUSTEE
          BRILL LLP                                           915 Wilshire Blvd., Suite 1850
    15     10250 Constellation Blvd., Suite 1700              Los Angeles, CA 90017
           Los Angeles, CA 90067                              Tel. no. 213-894-4219
    16    Tel. no. 310-229-1234                               alvin.mar@usdoj.gov
          jpf@lnbyb.com
    17    dln@lnbyb.com

    18
                  BY E-MAIL OR ELECTRONIC               TRANSMISSION:          Based on an agreement of the
    19   parties to accept service bye-mail or electronic transmission, I caused the document(s) to be sent
         from the e-mail address jennifernassiri@quinnemanuel.com         to persons at the e-mail addresses
    20   listed in the Service List. I did not receive, within a reasonable time after the transmission, any
         electronic message or other indication that the transmission was unsuccessful.
    21
                 I declare under penalty of perjury under the laws of the State of California that the
    22   foregoing is true and correct.

    23           Executed on October 29, 2019, at Los Angeles, California.

    24

    25

    26                                                      /s/ Jennifer Nassiri

    27                                                      Jennifer Nassiri

    28


                                                                                              PROOF OF SERVICE


                                        Exhibit 5 - page 39
            Case 2:19-bk-14989-WB                Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                     Desc
                                                 Main Document    Page 40 of 41




                     2
                                                      CERTIFICATE OF SERVICE FORM
                     3
                                                          FOR ELECTRONIC FILINGS
                     4
                                I hereby certify that on October 31,2019,   I electronically   filed the foregoing document,
                     5
                         Amazon Logistics, Inc.'s Motion for a Protective Order Quashing Document Requests and
                     6
                         Deposition Notices Propounded by Hillair Capital Management, LLC, with the Clerk of the
                     7
                         United States Bankruptcy   Court, Central District of California, Los Angeles Division, using the
                     8
                         CM/ECF    system, which will send notification of such filing to those parties registered to receive
                     9
                         notice on this matteL
                    10

                    11
                                                                       Renee Robles
                    12

                    13

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                    15

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                    26
                    27
                    28
MORGAN,   LEWIS&                                                                         AMAZON'S MOTION FOR PROTECTIVE
  BOCKIUS LLP
 AITOR.~EYSAT LAW                                                                             ORDER QUASHlNG DISCOVERY
   COSTA MESA
                                                                                         REQUESTS PROPOUNDED BY HfLLAIR

                                                               page 40
     Case 2:19-bk-14989-WB                        Doc 405 Filed 10/31/19 Entered 10/31/19 15:08:42                                            Desc
                                                  Main Document    Page 41 of 41




                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Motion for a Protective
Order Quashing Document Reguests and Deposition Notices Propounded by Hillair Capital Management. LLC; and
Declaration of Richard W. Esterkin in Support Thereof

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/31/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/31/2019           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenZie, Inc.           Daimler Trust                   Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            c/o BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                   Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/31/2019           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 The Hon. Julia W. Brand, Suite 1382
 U.S. Bankruptcy Court, Roybal Federal Building
 255 E Temple St, Los Angeles CA 90012

                                                                                        D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/31/2019         Renee Robles                                                                         ~~
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE

                                                                       page 41
